                Case 2:20-cv-00097-RFB-NJK            Document 5    Filed 02/13/20     Page 1 of 1

AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


William Randolph
                                                        JUDGMENT IN A CIVIL CASE
                                Plaintiff,
         v.                                             Case Number: 2:20-cv-00097-RFB-NJK
KSNV, et al


                                Defendants.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

        IT IS ORDERED AND ADJUDGED
that judgment is hereby entered dismissing case with prejudice.




         February 13, 2020
         ____________________                                  DEBRA K. KEMPI
         Date                                                 Clerk



                                                               /s/ J. Matott
                                                              Deputy Clerk
